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IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF MARYLAND

SOUTHERN DIVISION
ALICIA BROWN,
Plaintiff,
V. Case No. 8:18-cv-02612-PWG
JOHNNIE TURNER, e¢ al.

Defendants.

MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

Pursuant to Local Rule 101.2.b, Stan Brown, Esq. and the Stan Derwin
Brown Law Office, LLC, respectfully requests that this Court grant Stan Brown,
Esq.’s motion to withdraw his appearance as attorney of record for Defendant
Johnnie Turner in this matter. In support of this motion, Stan Brown, Esq. states
as follows:

1. On August 8, 2018 Defendant Mr. Johnnie Turner executed a
written Retainer Agreement with Stan Brown, Esq. and the Stan Derwin Brown
Law Office, LLC.

2: The Retainer Agreement required an initial $1,500.00 consultation
fee and a $400.00 per hour rate for legal services. As of the date of this motion
the Defendant Johnnie Turner has a) paid the $1,500.00 initial consultation fee,
and b) paid $4,000.00 for ten (10) hours of legal services. Defendant Johnnie
Turner owes counsel for sixty-one (61) hours of legal services which totals
$24,300.00. Stan sai Ba aa othes: LLC

an rrelephone: 301.863.8888 + Fax. 301 63.8600

Website: StanBrown.law Page 1 of 4
E-mail: attorney@StanBrown.net
 

 

 

 

Case 8:18-cv-02612-PWG Document 43 Filed 03/26/19 Page 2 of 4

3. Attorney Stan Brown, Esq. and the Stan Derwin Brown Law Office,
LLC appeared on behalf of Defendant Johnnie Turner on September 4, 2018 by
filing the original Answer to Complaint by Johnnie Tumer in this matter.

4. On November 15, 2018, counsel informed Defendant Johnnie
Turner by email, that Stan Brown, Esq. would be compelled to file a motion to
withdraw as counsel if Defendant Johnnie Turner failed to make the attorney fee
payments required by the Retainer Agreement prior to the scheduled December
5, 2018 motions hearing.

D: In accordance with Local Rule 101.2.a, on March 15, 2019, Stan
Brown, Esq. sent a letter by U.S. Priority Mail to Defendant Johnnie Turner
advising the client of counsel’s proposed withdrawal and notifying the client either
to have new counsel enter an appearance or to advise the Clerk that the client will
be proceeding without counsel. On March 18, 2019, the March 15, 2019 letter
was sent by email to Defendant Johnnie Turner.

6. Defendant Johnnie Turner has not responded to any of Stan Brown,

Esq.’s numerous letters, emails or telephone calls since early January 2019.

7. Defendant Johnnie Turner's last Known address is 4500 S. Four Mile

Run Drive. Apt. 434, Arlington, Virginia 22204.

WHEREFORE, Stan Brown, Esq. and the Stan Derwin Brown Law Office,
LLC, respectfully requests that the Court grant counsel’s leave to withdraw as

attorney of record for Defendant Johnnie Turner in this action.

Stan Brown, Esa.
Stan Derwin Brown Law Office, LLC
1300 Caraway Court + Suite 101 + Largo, Maryland 20774-5462
Telephone: 301.883.8888 + Fax: 301.883.8606
Website: StanBrown.law Page 2 of 4
E-mail: attorney@StanBrown.net
 

Case 8:18-cv-02612-PWG Document 43 Filed 03/26/19 Page 3 of 4

Dated: March 26, 2019

 

Respectfully Submitted,

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Mi, Cort
Stan Brown, Esq. (Bar no. 06431)
Stan Derwin Brown Law Office, LLC
1300 Caraway Court, Suite 101
Largo, Maryland 20774
Counsel for Defendant Johnnie Turner

CERTIFICATE OF SERVICE

| hereby certify that on this 26th day of March 2019 a copy of the above-
noted Motion for Leave to Withdraw as Counsel was served on all counsel of
record via this Court’s electronic filing system (CM/ECF) and/or by first class U.S.
mail, postage prepaid to the following persons:

John T. Prisbe, Esq. (Bar No. 04669) jtprisbe@venable.com
Ashleigh J.F. Lynn, Esq. (Bar No. 30122) ajlynn@Venable.com
Venable LLP

750 East Pratt Street, Suite 900
Baltimore, Maryland 21202
Telephone: (410) 244-7400

Fax: (410) 244-7742

Attorneys for Defendant, NVR, Inc.

Gerald F. Miles, Sr., Esq. (Bar no. 00107) Gary@lawhjm.com
Gerald F. Miles, Jr., Esq. (Bar no. 28199) Buddy@lawhjm.com
Huesman, Jones & Miles, LLC

Executive Plaza Ill, Suite 905

11350 McCormick Road

Hunt Valley, Maryland 21031

| Telephone: 443-541-8507

| Fax: 443-589-0161

| Attorneys for Plaintiff, Alicia Brown

Mr. Johnnie Turner Turner. Johnnie@gmail.com
4500 S. Four Mile Run Drive, Apt. 434

| Arlington, Virginia 22204 Sn
| Defendant -

Stan Brown, Esq.

 

Stan Brown, Esq.
Stan Derwin Brown Law Office, LLC
1300 Caraway Court * Suite 101 + Largo, Maryland 20774-5462
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ALICIA BROWN, .
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et al.
Defendants. .
ORDER

Having reviewed the Motion for Leave to Withdraw as Counsel for
Defendant Johnnie Turner and receiving no objections, it is this_ day of
2019

ORDERED that the Motion for Leave to Withdraw as Counsel for
Defendant Johnnie Turner is hereby GRANTED, and Stan Brown, Esq. and the
Stan Derwin Brown Law Office, LLC are relieved of any and all further duties in

this matter.

 

Judge, United States District Court
for the District of Maryland

Stan Brown, Esa.
Stan Derwin Brown Law Office, LLC
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